        Case 1:17-cv-00122-CG-MU Document 1 Filed 03/17/17 Page 1 of 5


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

CANDICE L. BOX,                                       )
                      Plaintiff,                      )
v.                                                    )
                                                      )
GEICO CASUALTY COMPANY; GEICO                         )
GENERAL INSURANCE COMPANY; 1-20;                      )
the person(s), firm(s) or corporation(s) who          )     CASE NO.
operated and/or controlled and/or insured the         )
vehicles involved in the crash that injured the       )     17-122
Plaintiffs at the times made the basis of this        )
suit;    21-40,     the person(s), firm(s) or         )
corporation(s) who was or were the principal,         )
master, or employer of the individuals who            )
operated and/or controlled the vehicle involved       )
in the crash that injured the Plaintiffs at the       )
times made the basis of this suit; 41-60, the         )
person(s), firm(s) or corporation(s) who              )
negligently and/or wantonly trained, educated,        )
supervised and/or monitored those person(s),          )
firm(s) or corporation(s) who operated and/or         )
controlled the truck that injured the Plaintiffs at   )
the times made the basis of this suit; 61-80,         )
the person(s), firm(s) or corporation(s)              )
responsible for and who did in fact assist or         )
contribute in any way to the tortious conduct         )
made the basis of this suit or who issued             )
insurance coverage of any type that may               )
provide for recovery; all of whose true names         )
and legal identities are otherwise unknown to         )
the Plaintiffs but who will be substituted by         )
amendment when ascertained, separately and            )
severally,                                            )
                                                      )
                      Defendants.                     )


                                         COMPLAINT


       Plaintiff CANDICE L. BOX files this Complaint against Defendant GEICO

CASUALTY COMPANY; Defendant GEICO GENERAL INSURANCE COMPANY and

fictitious defendants 1-80; individually and jointly, as follows:
          Case 1:17-cv-00122-CG-MU Document 1 Filed 03/17/17 Page 2 of 5

                                GENERAL ALLEGATIONS

       1.      Plaintiff CANDICE L. BOX (sometimes referred to as “Ms. Box” or “Plaintiff”)

is over the age of nineteen years and is a resident of the State of Alabama, where she lives

in Baldwin County.

       2.      Defendant GEICO CASUALTY COMPANY is an insurance corporation

licensed to do business in the State of Alabama, and who did issue a policy of insurance

that provides underinsured motorist coverage under which Plaintiff is an insured.

       3.      Defendant GEICO GENERAL INSURANCE COMPANY is an insurance

corporation licensed to do business in the State of Alabama, and who did issue a policy

of insurance that provides underinsured motorist coverage under which Plaintiff is an

insured

       4.      Defendants 1-80 are fictitious defendants whose actions or inactions caused

and/or contributed to cause the injuries described in detail throughout this Complaint and

suffered by the Plaintiff and/or who issued insurance coverage of any type or kind that may

provide recovery for Plaintiff. The names and true legal identities of fictitious defendants

1-80 are otherwise unknown at this time, but will be substituted by amendment when

ascertained.

       5.      At all times relevant to the issues made the basis of this suit, Defendants 1-

20 were acting within the line and scope of their employment as the agents, servants or

employees of fictitious defendants 21-40.

       6.      TERRY FORREST ALLEN, JR. is over the age of nineteen years and is a

resident of the State of Alabama. Further, on February 15, 2016, ALLEN was an uninsured

and/or underinsured driver.

       7.      On February 15, 2016, in Baldwin County, Alabama, at or near County Road

49 and Cotton Stocking Lane, TERRY FORREST ALLEN, JR. was negligently and/or

                                              2
        Case 1:17-cv-00122-CG-MU Document 1 Filed 03/17/17 Page 3 of 5

recklessly operating a Ford Explorer SUV such that it crashed into the vehicle being driven

by Plaintiff. This event is sometimes referred to as the “subject crash.”

       8.     At the time of the subject crash, Plaintiff had the right of way and was

operating her vehicle in a safe manner.

       9.     At the time of the subject crash, the uninsured and/or underinsured driver

TERRY FORREST ALLEN, JR. did not have the right or way and was operating his vehicle

in a negligent, unsafe, reckless or otherwise dangerous manner

       10.    As a direct result of the subject crash, the Plaintiff was caused to suffer

physical injuries and other damages.

       11.    For the acts and omissions set out and described herein, and as a

consequence of their physical injuries and other damages, Plaintiff seeks remedy under

the applicable law.



                               FIRST CAUSE OF ACTION
                                        (UIM)


       12.    Plaintiff incorporates here all of the allegations contained in the GENERAL

ALLEGATIONS as if set forth fully herein and further allege as follows:

       13.    Plaintiff was insured under the terms and provisions of a policy and/or

policies of insurance issued in the State of Alabama by the Defendant GEICO CASUALTY

COMPANY and Defendant GEICO GENERAL INSURANCE COMPANY; and/or fictitious

defendants 1 - 80.

       14.    At the time and place made the basis of this Complaint, said policies of

insurance covering the Plaintiff were in full force and effect. As such, under the terms and

provisions of said policies of insurance, the Defendants GEICO CASUALTY COMPANY

and GEICO GENERAL INSURANCE COMPANY; and/or fictitious defendants 1 - 80

                                             3
        Case 1:17-cv-00122-CG-MU Document 1 Filed 03/17/17 Page 4 of 5

agreed to and are obligated to pay all sums which the Plaintiff would be legally entitled to

recover as damages from the owner or operator of any uninsured and/or under-insured

motor vehicle.

       15.    Plaintiff further alleges that she has made demand upon Defendant GEICO

CASUALTY COMPANY and Defendant GEICO GENERAL INSURANCE COMPANY to

pay the uninsured and/or under-insured motorist benefits to which she is entitled under the

terms and provisions of said policies of insurance, and that the Defendant GEICO

CASUALTY COMPANY and Defendant GEICO GENERAL INSURANCE COMPANY have

refused to honor their obligation.

       WHEREFORE Plaintiff CANDICE L. BOX seeks judgment from Defendant GEICO

CASUALTY COMPANY and Defendant GEICO GENERAL INSURANCE COMPANY; and

fictitious defendants 81-90, individually and jointly, for all such sums as the jury may

assess and are recoverable by law.



                                          CUNNINGHAM BOUNDS, LLC
                                          Attorneys for the Plaintiffs

                                          /s/ Robert L. Mitchell
                                          ROBERT L. MITCHELL [MITCR9956]
                                          Post Office Box 66705
                                          Mobile, Alabama 36660
                                          T: (251) 471-6191
                                          F: (251) 479-1031
                                          E: RLM@cunninghambounds.com


The Plaintiff respectfully demands trial by jury.


                                           /s/ Robert. L. Mitchell




                                             4
       Case 1:17-cv-00122-CG-MU Document 1 Filed 03/17/17 Page 5 of 5



The Defendants may be served VIA CERTIFIED MAIL as follows:

GEICO CASUALTY COMPANY
CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104

GEICO GENERAL INSURANCE COMPANY
CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104

                                     /s/ Robert. L. Mitchell




                                       5
